 Case 2:18-cv-06608-CAS-E Document 43 Filed 07/24/19 Page 1 of 5 Page ID #:299




 1   Ryan E. Hatch (SBN 235577)                   Anthony J. Dain (Bar No. 98947)
     Law Office of Ryan E. Hatch, PC              anthony.dain@procopio.com
 2   13323 W. Washington Blvd., Suite 100         Brian J. Kennedy (Bar No. 280921)
 3   Los Angeles, CA 90066                        brian.kennedy@procopio.com
     Email: ryan@ryanehatch.com                   Procopio, Cory, Hargreaves & Savitch
 4                                                LLP
     Ethan J. Brown (CA SB No. 218814)            525 B Street, Suite 2200
 5                                                San Diego, CA 92101
     Rowennakete Barnes (CA SB No. 302037)        Telephone: 619.238.1900
 6   ethan@bnsklaw.com                            Facsimile: 619.235.0398
 7   kete@bnsklaw.com
     Brown, Neri, Smith & Khan LLP                Attorneys for Defendant and Cross-
 8   11601 Wilshire Blvd., Suite 2080             Complainant Vitajoy USA Inc.
 9   Los Angeles, CA 90025
     Work: 310-593-9890
10   Fax: 310-593-9980
11
     Attorneys for Plaintiffs and Counter-
12   Defendants RK Solutions, LLC and VND
     Butyrate, LLC
13
14
15                              UNITED STATES DISTRICT COURT
16                             CENTRAL DISTRICT OF CALIFORNIA
17
18
      RK SOLUTIONS, LLC and VND               Civil Action No. 2:18-cv-06608-CAS-E
19    BUTYRATE, LLC,
                                              UNOPPOSED MOTION FOR
20                         Plaintiffs,        SUBSTITUTION OF PARTIES
21              v.
22    VITAJOY USA INC.
23                        Defendant,
24
25
26
27
28

     JOINT RULE 26(F) REPORT                                    Case No. 2:18-cv-06608-CAS-E
 Case 2:18-cv-06608-CAS-E Document 43 Filed 07/24/19 Page 2 of 5 Page ID #:300




 1         Pursuant to Rule 25(c), Federal Rules of Civil Procedure, Plaintiffs RK Solutions,
 2   LLC and VND Butyrate, LLC (“Plaintiffs”) hereby move this Court for an Order
 3   substituting Axcess Global Sciences LLC (“AGS”) in place of plaintiff VND Butyrate
 4   LLC (“VND Butyrate”). Defendant Vitajoy USA Inc. (“Defendant”) does not oppose
 5   this motion.
 6         This is an action for patent infringement asserting U.S. Patent No. 6,613,356 (the
 7   “’356 Patent”). Plaintiff VND Butyrate has transferred its interest in the ’356 Patent to
 8   AGS, pursuant to a certain Patent Assignment Agreement. Rule 25(c), Federal Rules
 9   of Civil Procedure permits (but does not require) the substitution of parties when such
10   a transfer of interest occurs. The Rule states:
11         Transfer of Interest. If an interest is transferred, the action may be
           continued by or against the original party unless the court, on motion,
12
           orders the transferee to be substituted in the action or joined with the
13         original party. The motion must be served as provided in Rule 25(a)(3).
14
           Fed. R. Civ. P. 25(c); Because VND Butyrate has transferred its interest in the
15
     ’356 Patent to AGS, Plaintiffs request that AGS be substituted as a plaintiff in place of
16
     VND Butyrate.
17
           Respectfully submitted,
18
19
20
21
22
23
24
25
26
27
28

     UNOPPOSED MOTION FOR SUBSTITUTION OF        1                   Case No. 2:18-cv-06608-CAS-E
     PARTIES
 Case 2:18-cv-06608-CAS-E Document 43 Filed 07/24/19 Page 3 of 5 Page ID #:301




 1   Dated: July 24, 2019                   /s/ Ryan E. Hatch
                                            Ryan E. Hatch
 2
                                            Law Office of Ryan E. Hatch, PC
 3
                                            Attorney for Plaintiffs
 4
                                            RK Solutions, LLC and VND Butyrate, LLC
 5
 6
     Dated: July 24, 2019                   /s/ Brian J. Kennedy
 7                                          Brian J. Kennedy
 8                                          Procopio, Cory, Hargreaves & Savitch LLP
 9                                          Attorney for Defendant
10                                          Vitajoy USA Inc.
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

     UNOPPOSED MOTION FOR SUBSTITUTION OF      2                     Case No. 2:18-cv-06608-CAS-E
     PARTIES
 Case 2:18-cv-06608-CAS-E Document 43 Filed 07/24/19 Page 4 of 5 Page ID #:302




 1                                         ATTESTATION
 2             Pursuant to Local Rule 5-4.3.4(a)(2)(i), all signatories listed, and on whose
 3   behalf the filing is submitted, concur in the filing’s content and have authorized the
 4   filing.
 5   Dated: July 24, 2019
 6                                                      /s/ Ryan E. Hatch
 7                                                      Ryan E. Hatch
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

     UNOPPOSED MOTION FOR SUBSTITUTION OF           3                   Case No. 2:18-cv-06608-CAS-E
     PARTIES
 Case 2:18-cv-06608-CAS-E Document 43 Filed 07/24/19 Page 5 of 5 Page ID #:303




 1                              CERTIFICATE OF SERVICE
 2         The undersigned certifies that on July 24, 2019, the foregoing document was
 3   electronically filed with the Clerk of the Court for the UNITED STATES DISTRICT
 4   COURT, CENTRAL DISTRICT OF CALIFORNIA, using Court’s Electronic Case
 5   Filing (ECF) system. The ECF system routinely sends a “Notice of Electronic Filing”
 6   to all attorneys of record who have consented to accept this notice as service of this
 7   document by electronic means. Any party not receiving the Court’s electronic
 8   notification will be sent a copy of the foregoing document.
 9
10                                                  /s/ Ryan E. Hatch
                                                      Ryan E. Hatch
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

     UNOPPOSED MOTION FOR SUBSTITUTION OF       4                       Case No. 2:18-cv-06608-CAS-E
     PARTIES
